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 5                           UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF WASHINGTON
 6                                    AT SEATTLE

 7
       ERIC MATTHEW SCHOENBERG,
 8                            Plaintiff,
 9         v.                                            C20-1485 TSZ

10     WINDSTAR CRUISES MARSHALL                         MINUTE ORDER
       ISLANDS, LLC,
11
                              Defendant.
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13        The following Minute Order is made by direction of the Court, the Honorable
     Thomas S. Zilly, United States District Judge:
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             (1)     By Minute Order entered May 19, 2021, docket no. 32, the Court granted
     leave to James K. McCanna and the firm of McCanna Law, PLLC to withdraw as counsel
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     of record for plaintiff Eric Matthew Schoenberg and set a deadline of June 18, 2021, for
     plaintiff to arrange for substitute counsel to file a notice of appearance. No notice of
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     appearance was timely filed and plaintiff is treated as proceeding pro se in this matter.
     Based on representations made by defendant’s attorneys in the status report filed on
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     September 16, 2021, docket no. 34, the Court is satisfied that plaintiff received a copy of
     the Minute Order entered May 19, 2021, docket no. 32, and that plaintiff has been duly
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     apprised of his obligations to provide the Court with his current contact information and
     comply with the rules and orders of this Court, as well as the consequences of failing to
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     participate in this litigation, including dismissal of his claims. See Status Report at ¶¶ 2-4
     (docket no. 34); Minute Order at 2 n.1 (docket no. 32). Plaintiff, however, has not
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     supplied a mailing address to the Court or defendant’s counsel, and defendant’s lawyers’
     most recent attempts to contact plaintiff via email and telephone have been unsuccessful.
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     See Status Report at ¶¶ 4 & 6 (docket no. 34). As a result, defendant has requested a
     status conference. The Court DECLINES to communicate with defendant or its attorneys
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 1 ex parte, but will entertain a request for a status conference if all parties can reliably be
   expected to participate. Absent some assurance that plaintiff will be present for a status
 2 conference, either in person or by phone, the Court will not schedule such event.

 3           (2)     Plaintiff is hereby ADVISED that continued failure to prosecute this matter
     will be grounds for dismissal of his claims. If plaintiff wishes to proceed, he must supply
 4   his current mailing address, email address, and telephone number to the Court by sending
     such information in writing to the Clerk of the Court, United States Courthouse, 700
 5   Stewart Street, Seattle, WA 98101. Such document must also contain the case number:
     C20-1485 TSZ. The parties or, if plaintiff remains non-responsive, just defendant shall
 6   file a status report within 90 days of the date of this Minute Order. If, upon review of the
     next status report, the Court is persuaded that plaintiff has not taken the steps necessary to
 7   further litigate this case, this action will be dismissed without prejudice.

 8        (3)    The Clerk is directed to send a copy of this Minute Order to all counsel of
   record and to plaintiff at ericmschoenberg@icloud.com. Defendant shall serve a copy of
 9 this Minute Order on plaintiff via all other means at its disposal and file proof of service
   (or non-service) within fourteen (14) days of the date of this Minute Order.
10          Dated this 23rd day of September, 2021.
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                                                       Ravi Subramanian
12                                                     Clerk

13                                                     s/Gail Glass
                                                       Deputy Clerk
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     MINUTE ORDER - 2
